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                                     EXHIBIT A


C r a ig H. Dur ham
F ER GU S O N DU R HA M , PLLC
2 2 3 N. 6 t h S t r e et , Suit e 325
Bo ise , I daho 83702
Te le pho ne : (208) 7 24 -2617
F a csimile : (208 ) 90 6-8663
chd@fe r g uso ndur h am.co m

A t t or ne y for De fe ndant Har pe r


                          UNITED STATES DISTRICT COURT


                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,
                                                 Case No. 4:19-cr-00021-BLW
                       Plaintiff,

                                                 DECLARATION OF ADAM
     v.                                          W. HARPER IN SUPPORT OF
                                                 MOTION TO REDUCE
                                                 SENTENCE
 ADAM W. HARPER,
                       Defendant.




       I, Adam W. Harper, hereby declare under penalty of perjury the following:

       1.      I am the defendant.

       2.      These facts are based on my personal knowledge.

       3.      I am providing this supplemental testimony in addition to the facts that I

stated under oath in my Motion for Reduction of Sentence.
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                              Conditions at FCI Englewood

      4.     Prison officials here are keeping us in the dark about whether the virus is

already in this institution. We had “town hall” meetings for a while, but those stopped

several weeks ago.

      5.     One inmate was taken off my range (tier) within the last two weeks. He

was coughing and throwing up. No one will tell us whether he had the virus.

      6.     I saw a memo on the public display area that indicated that a staff

member had tested positive. That memo has since been removed.

      7. It is not possible to socially distance here. I am constantly within six feet of

other people. There are over 60 inmates on my range, which was intended to house half

that number. My bed and personal items are in a cubicle of about 210 square feet with

five other inmates.

      8.     Over 60 men on the range share a bathroom with four sinks, two urinals,

four toilets, two soap dispensers, three showers, one hot water dispenser, and one

drinking fountain. These facilities get heavy use between cleanings. The soap

dispensers are constantly empty. We don’t get hand sanitizer.

      9.     Since April 1, we have been locked down on our range in these conditions

21 hours a day. COs, janitors, and others still move between ranges and units.

      10.    The hours that we are not locked down, we are given three hours in a day

room area. Other ranges also use this dayroom at different times. The entire 180-inmate


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unit shares eight total phones and six computers, which require a thumbprint to log in.

Sanitation in this area is spotty, at best.

       11.    For most of the lockdown we received no rec time. Now we get one hour a

week outside.

       12.    Although prison officials have provided cloth masks to COs and inmates,

many COs choose not to wear them. I had one interaction recently with a staff member

who was not wearing a mask. When we asked him to wear it, he said “what are going

to do, snitch on me?”

       13.    The conditions are crowded, unsanitary, and unhealthy.

                           My Medical and Family Circumstances

       14.    Since I’ve come to prison, I have been diagnosed with hypothyroidism.

My understanding of the condition is that my immune system does not work properly.

I take 75 mg per day of levothyroxine. See Dkt. 39, pp. 20-24.

       15.    I also have a heart murmur, which was diagnosed at birth.

       16.    I also have a recent history of respiratory disease. Although each time the

incidents eventually cleared, I am concerned that I may be vulnerable to chest

infections. In 2018, I was coughing and having chest pain. I was taken to the

emergency room and diagnosed with pneumonia. Attachment 4, filed under seal.

       17.    A few years before that, while I was incarcerated at Orofino, I was taken

to the emergency room by ambulance for another lung problem that showed up on an


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x-ray. I had similar symptoms that time as the 2018 incident. I have been unable to get

these medical records from IDOC.

       18.    Between my hypothyroidism, my heart murmur, and my recent lung

illnesses, I am very concerned that I will have a significant complication if I were to

develop COVID-19.

       19.    My family has also experienced extreme hardship in the last year. My

brother died in January. My grandfather died two weeks ago. My cousin died last week.

       20.    Both of my parents are elderly and in poor health. My father has heart

disease and diabetes. He has had heart attacks. My mother has lupus.

                         My Attempts to Exhaust BOP Remedies

       21.    The procedure for requesting compassionate release at FCI Englewood

has been a farce.

       22.    On April 7, I asked my case manager Mr. French about compassionate

release. He said that I don’t qualify, so “don’t ask.” He refused to give me a BP 8 at that

time because it would “waste everyone’s time.”

       23.    I sent a request to the warden three times (called a "cop-out") between

April 9 and April 12. He finally responded on April 12 and wrote that my request was

forwarded to my unit team.




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       24.    On April 13, Case Manager French called me into his office in response to

the warden routing the request to him. He said he was sick of these cop-outs. He also

told me that I wasn’t getting out and, again, that I was wasting everyone’s time.

       25.    Between April 11 and April 19, I filed written requests with my counselor,

Mr. Morgan, for legal documents and attorney calls. I never got a response.

       26.    I could go on with several other instances of my attempts to communicate

within the proper channels that were ignored.

       27.    On April 28, I finally received a form letter from the Warden denying my

request for compassionate release. Attachment 1. This letter was not specific to my

circumstances. Al inmates received the same one.

       28.    Per the Warden’s instructions in his letter, I have now filed a BP 9

requesting him to reconsider, but as of this date I have not heard back. I don’t know

why I am required to file the same request to him twice after he’s already denied me

relief. In any case, I will continue to pursue the grievance process within the BOP. But

given the history of officials’ negligent or intentional stonewalling, I decided that I

could not wait any longer before bringing this motion.

                                     My Release Plan

       29.    If the Court were to find extraordinary circumstances and shorten my

time in prison, I have prepared a solid release plan that should decrease any concern




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about the risk to the community. I am agreeable to all conditions that the Court or my

PO deems necessary.

       30.    My release plan has two options. Plan A, my preference, would be to

release to the Magic Valley area. I have housing, a job, aftercare, and an NA sponsor in

the area. Plan B would be to release to Salt Lake City. I have a sister who lives there and

who can provide housing and support. There I have a job recruiter who can help me

find work. I own a vehicle and have reliable transportation.

       31.    First, and most important, under either plan I intend to continue

addressing my substance abuse disorder. I heard the Court loud and clear at my

sentencing that I it wanted me to pursue and receive treatment. I wanted to do RDAP,

but I did not have enough prison time to qualify. But I enrolled in the drug counseling

and treatment that was available (“NDAP”). I started the program, completed 16 weeks

of group, and was doing well when they cut it short because of COVID-19.

       32.    I already have an appointment set for drug treatment and counseling at

ProActive Advantage in Burley for July 23rd, if the Court orders me released before

then. I am sure that I qualify. I can arrange a similar appointment in Salt Lake City, if

necessary.

       33.    I have a job waiting for me with Better Half Trucking in Hansen, Idaho.

Attachment 2. I would be a loader/operator for them at an hourly rate of $16 per hour.

This business is “essential” and won’t shut down because of the pandemic. It has health


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benefits after 90 days. I can get an insurance policy in the meantime, as I have some

small funds available to me for that purpose and to tie me over until my first paycheck.

       34.     In the Burley area I have housing with my fiancé, Emmy, that Probation

has already checked out before sentencing and indicated was suitable. Because of the

virus, only one income now sustains a family of five. My income would be much-

needed help.

       35.     If released to Salt Lake City, I have a contact with a job recruiter who

believes that she can find work for me. Attachment 3. I have been approved for

transitional housing to start out. And I have some small fund that will assist me in the

short term. I should be able to get health insurance.

       36. Wherever I end up, and whenever I end up there, I want the Court to know

that I intend to keep my promise to live a clean and sober lifestyle going forward. I

don't believe that I am a risk to re-offend.

       I declare under penalty of perjury that the foregoing is true and correct.

       EXECUTED on this 29th day of May 2020




                                           /s/ Adam W. Harper
                                           Adam W. Harper
                                           Defendant




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                       ATTACHMENT 1
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                                            ATTACHMENT 2




                                                       P.O. 472 * Hansen * ID * 83334 * (208) 982-5842



                                        Notice of Intent to Hire

April 20, 2020


Federal Bureau of Prisons
9595 W Quincy Ave
Littleton, CO 80123
c/o Adam Harper #19823-023


To Whom it May Concern:

       This letter is to inform you that Better Half Trucking would like to offer Mr. Adam Harper a
position here within our trucking company, as a Loader Operator.

       Duties for this position are as follows:

                  •   Responsible for the loading and unloading of the trucks
                  •   Create and maintain a tidy and safe hay stack
                  •   responsible for the transportation of the loader to and from each stack
                  •   Will maintain work area in an up-kept manner at all times
                  •   Responsible for the fueling of the loader


       Compensation for this position is as follows:

                  •   30-35 hours per week
                  •   pay is $16.00 per hr. to start
                  •   Health benefits after 90-days
                  •   Paid holidays after 90-Days
                  •   2-weeks vacation after 12-months

       The terms and/or conditions of employment are negotiable. If you are interested please contact
Erin Hill at (208) 420-7340 at your earliest convenience so that we may begin working out the terms of
your employment. We look forward to hearing from you.




Erin Hill
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                                      ATTACHMENT 3


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